     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 1 of 25 PageID #: 1



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     FRIEDA ROGERS ROEN;
7    and PREMIER TRUST, INC.
8

9                        UNITED STATES DISTRICT COURT
10           EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
11
     FRIEDA MAE ROGERS f/k/a FRIEDA        )       Case No.
12   ROGERS ROEN; and PREMIER TRUST,       )
     INC., a Nevada corporation, as Trustee of
                                           )       COMPLAINT FOR:
13   the FRIEDA M. ROEN RESULTING          )
     TRUST u/a/d July 19, 1934;            )       (1) NEGLIGENCE;
14                                         )       (2) BREACH OF FIDUCIARY
                 Plaintiffs,               )           DUTY AS TRUSTEE;
15                                         )       (3) CONSTRUCTIVE FRAUD AS
          vs.                              )           TRUSTEE;
16                                         )       (4) FINANCIAL ELDER ABUSE;
     WILMINGTON TRUST COMPANY, a           )           and,
17   Delaware corporation; and, WILMINGTON )       (5) VIOLATION OF THE U.S.
     TRUST INVESTMENT ADVISORS, INC., )                INVESTMENT ADVISERS
18   a Maryland corporation;               )           ACT OF 1940, AS AMENDED.
                                           )
19               Defendants.               )       DEMAND FOR JURY TRIAL
     ___________________________________ )
20                                         )
                                           )
21

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28
     COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 2 of 25 PageID #: 2



1                                       COMPLAINT
2

3           Plaintiffs FRIEDA MAE ROGERS f/k/a FRIEDA ROGERS ROEN
4    (hereinafter “ROGERS”) and PREMIER TRUST, INC. (hereinafter “PREMIER”)
5
     hereby allege for their complaint against Defendants WILMINGTON TRUST
6

7    COMPANY (hereinafter “WILMINGTON”) and WILMINGTON TRUST
8    INVESTMENT ADVISORS, INC. (hereinafter “WTIA”) on personal knowledge
9
     as to Plaintiffs’ own activities, and on information and belief as to the activities of
10

11   others, as follows:
12

13
                                          The Parties

14
            1.    Plaintiff ROGERS is an individual resident of the state of California,
15

16
     County of Stanislaus therein. ROGERS was previously known as Frieda R. Roen.

17   By Order of the Superior Court for the County of Stanislaus made on September
18
     21, 2016, ROGERS had her name legally changed back to her former name
19
     “Frieda Mae Rogers.”
20

21          2.    Plaintiff PREMIER is a corporation formed under the laws of the
22
     state of Nevada. PREMIER offers independent fiduciary services for trusts and
23
     estates.
24

25          3.    A trust document known as the Reformed and Restated Trust
26
     Agreement of the Trust Created by Katherine Stuart Stibbs Under Trust
27
                                               2
28
     COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 3 of 25 PageID #: 3



1    Agreement Dated July 19, 1934, as Divided for the Benefit of the Descendants of
2
     Mary Stuart Rogers was created and confirmed by Court Order on November 10,
3

4    2008 (hereinafter “1934 Restated Trust Agreement”).        Pursuant to the 1934

5    Restated Trust Agreement there was created The Frieda M. Roen Resulting Trust
6
     (hereinafter “Roen Resulting Trust”). The “Trustee” of the 1934 Restated Trust
7

8    Agreement was WILMINGTON at all times material herein.          (This occurred by

9    reason of the 1934 Restated Trust Agreement at the Third Article, Section 9 and
10
     further by letter designation of ROGERS made on December 12, 2008, given to
11

12   WILMINGTON.) Plaintiffs are informed and believe and on that basis allege that

13   WILMINGTON hired, consulted with and retained the services of WTIA related
14
     to all management and investment decisions of the Roen Resulting Trust at all
15

16
     times from and after the creation of the Roen Resulting Trust until the date when

17   WILMINGTON ceased acting as the Trustee over the Roen Resulting Trust. On
18
     January 13, 2015, ROGERS replaced WILMINGTON with PREMIER as the
19

20
     Trustee over the Roen Resulting Trust as more particularly described hereinafter.

21         4.    Defendant WILMINGTON is a corporation formed and existing
22
     under the laws of the state of Delaware. WILMINGTON is a wholly-owned
23

24
     subsidiary of Wilmington Trust Corporation which in turn is a wholly-owned

25   subsidiary of M&T Bank Corporation, a New York corporation. WILMINGTON
26
     is not a bank, nor is WILMINGTON a bank holding company.
27
                                             3
28
     COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 4 of 25 PageID #: 4



1          5.     Defendant WTIA is a corporation formed and existing under the laws
2
     of the state of Maryland. Defendant WTIA is a wholly-owned subsidiary of M&T
3

4    Bank Corporation which entity also owns Defendant WILMINGTON as stated

5    above. WTIA is a registered investment adviser under the United States Securities
6
     & Exchange Commission.
7

8          6.     Plaintiffs are informed and believe and thereon allege that at all times

9    herein mentioned, each Defendant was acting as the partner, co-owner, agent or
10
     employee of the other Defendant and in committing the acts herein mentioned was,
11

12   and is, acting within the scope of his/its authority as such partner, co-owner, agent

13   or employee and with the permission, knowledge, consent and ratification of his/its
14
     co-Defendant.
15

16
           7.     Plaintiffs are further informed and believe and thereon allege that at all

17   times material hereto, each Defendant was acting as the partner, co-owner, agent,
18
     servant, employee, officer, director, shareholder, owner, subsidiary, parent
19

20
     corporation or alter-ego of the other Defendant, and in doing the things hereinafter

21   alleged, was acting within the course and scope of this relationship and with full
22
     knowledge and consent, either express or implied, of the other Defendant.
23

24
           8.     On information and belief, each Defendant has acted in concert with

25   and with the authorization, consent and knowledge of the other Defendant as alleged
26
     herein. Plaintiffs are further informed and believe that each Defendant, for each act
27
                                               4
28
     COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 5 of 25 PageID #: 5



1    and omission alleged herein, had a unity of interest with the other Defendant and
2
     acted in concert with the other Defendant as a co-conspirator. Plaintiffs are further
3

4    informed and believe and thereon allege that at all times material hereto, each of the

5    Defendants acted as a co-conspirator to perpetuate and profit from a common
6
     scheme to violate the securities laws identified in this Complaint.
7

8
                                   Jurisdiction and Venue
9

10          9.    This is an action for violation of the U.S. Investment Advisers Act of

11   1940, as amended, codified at 15 U.S.C. §§80b-1 through 80b-21, negligence,
12
     breach of fiduciary duty, actual and constructive fraud, and financial elder abuse
13

14
     under California law codified at California Welfare & Institutions Code §15610, et

15   seq.
16
            10.   This Court has original jurisdiction pursuant to 28 U.S.C. §1331 over
17

18
     Plaintiffs’ claims that the Defendants have violated the U.S. Investment Advisers

19   Act of 1940, as amended. This Court further has supplemental jurisdiction over
20
     Plaintiff’s state law claims under 28 U.S.C. §1367.
21

22
            11.   This Court also has diversity jurisdiction over this action pursuant to

23   28 U.S.C. §1332 because the claims are entirely between a citizen of the state of
24
     California and a trust administered under the laws of the state of California and
25

26
     corporations formed and existing under the laws of the state of Delaware, and the

27
                                               5
28
     COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 6 of 25 PageID #: 6



1    amount in controversy exceeds the amount of $75,000.00, exclusive of interest and
2
     costs.
3

4             12.   Venue is proper in this district pursuant to 28 U.S.C. §§1391(a) and

5    1391(b) because a substantial part of the events or omissions giving rise to the
6
     claim arose in this district. Because the Defendants have sufficient minimum
7

8    contacts with the chosen forum, this Court has personal jurisdiction over the

9    Defendants.
10
                                    Nature of the Dispute
11

12            13.   At all times mentioned herein, ROGERS was an elderly adult female

13   over the age of 65 years.
14
              14.   At all times mentioned herein, ROGERS was the sole beneficiary
15

16
     under the Roen Resulting Trust.

17            15.   From December 3, 2008, until January 13, 2015, WILMINGTON
18
     acted as the sole Trustee of the Roen Resulting Trust. Further, during this same
19

20
     period WILMINGTON and WTIA acted as “advisers” to WILMINGTON as the

21   Trustee over the Roen Resulting Trust. Said time period is hereinafter sometimes
22
     referred to as the “Wilmington Trustee Period.”
23

24
              16.   During all or part of the Wilmington Trustee Period, WILMINGTON

25   as Trustee did not grant a written consent for any discretionary management of the
26
     Roen Resulting Trust assets, both real and personal, to either WILMINGTON or
27
                                               6
28
     COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 7 of 25 PageID #: 7



1    WTIA as investment advisors.       Furthermore, during the Wilmington Trustee
2
     Period WILMINGTON as Trustee did not grant any written consent to allow
3

4    WILMINGTON or WTIA as investment advisors to invest in non-suitable

5    investments for her as a beneficiary under the Roen Resulting Trust given the age,
6
     health, and status of ROGERS.
7

8          17.   During all or part of the Wilmington Trustee Period, ROGERS was

9    not informed, did not know and could not know that WILMINGTON with the
10
     assistance of WTIA invested Roen Resulting Trust corpus and principal Trust
11

12   assets in proprietary investments owned and managed by WILMINGTON or

13   WTIA. Furthermore, during all or part of the Wilmington Trustee Period, an
14
     actual conflict of interest existed between WILMINGTON as the Trustee and
15

16
     ROGERS as the beneficiary of the Roen Resulting Trust by reason of the

17   aforesaid. No disclosure was made by WILMINGTON or WTIA to ROGERS of
18
     the actual conflict of interest and no attempt was made by WILMINGTON as the
19

20
     Trustee of the Roen Resulting Trust to inform ROGERS of the actual conflict of

21   interest, nor did WILMINGTON obtain any written acknowledgement from
22
     ROGERS of any disclosure to her by WILMINGTON of the conflict of interest.
23

24
     At all times mentioned herein, ROGERS was unaware of any potential or actual

25   conflict of interest referenced hereinabove, and ROGERS did not execute any
26
     written waiver of any potential or actual conflict of interest which existed between
27
                                              7
28
     COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 8 of 25 PageID #: 8



1    WILMINGTON and WTIA on the one hand as Trustee and investment adviser,
2
     and ROGERS on the other hand as the beneficiary under the Roen Resulting Trust.
3

4          18.   During all or part of the Wilmington Trustee Period, WILMINGTON

5    provided one or more written reports to ROGERS wherein WILMINGTON
6
     confirmed that its investment strategy for the Trust was for an investor with an
7

8    “intermediate-to-long-term investment horizon who seek growth of capital and a

9    modest amount (sic) of current income.” This statement was identified under
10
     “suitability” for ROGERS. As an elderly person over the age of 65 this strategy
11

12   and confirmed investment action by WILMINGTON was entirely and completely at

13   odds with the needs of ROGERS as an elderly person. ROGERS was in need of
14
     significant liquid funds to provide for her lifestyle as an elderly person including
15

16
     health care. Moreover, WILMINGTON additionally stated in its written reports

17   to ROGERS that the “strategy” was to place Trust corpus and liquid cash into
18
     “equity-related investments” which included both domestic and international
19

20
     holdings. Furthermore, WILMINGTON confirmed in writing that it intended and

21   would be investing Trust corpus and liquid cash in “commodities” and “hedged
22
     strategies.” In September of 2016 ROGERS became aware of the following facts
23

24
     and circumstances related to the management of the Roen Resulting Trust by

25   WILMINGTON: of the total funds available in the Roen Resulting Trust: 60% of
26
     the funds were allocated to equity investments, 10% of the funds were allocated to
27
                                              8
28
     COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 9 of 25 PageID #: 9



1    inflation hedges, 10% of the funds were allocated to hedged strategies, 15% of the
2
     funds were allocated to fixed income, and 5% of the funds were allocated to cash
3

4    or cash equivalents. In addition, in September of 2016 ROGERS became aware

5    that WILMINGTON may have allocated as much as 30% of the funds to hedged
6
     strategies. Moreover, in September of 2016 ROGERS became aware that there
7

8    were “no investment restrictions” for the Roen Resulting Trust concerning any

9    investments made by WILMINGTON as Trustee on behalf of the Roen Resulting
10
     Trust.
11

12            19.   ROGERS is informed and believes that WILMINGTON invested

13   Trust corpus and liquid cash in investments that lost part or all of the Trust corpus
14
     and liquid cash investment or failed to achieve a return on invested capital
15

16
     commensurate with returns available on investments without high risk or

17   investments that were suitable for ROGERS given her age, health and standing.
18
     Moreover, ROGERS is informed and believes that WILMINGTON agreed and
19

20
     permitted managers of investment entities wherein the Trust corpus or liquid cash

21   investments were made to take and receive grossly excessive management fees
22
     and costs. ROGERS learned of such information in September of 2016.
23

24
              20.   On or about January 13, 2015, ROGERS as the “Primary Beneficiary”

25   of the Roen Resulting Trust removed WILMINGTON as the Trustee over the
26
     Trust and appointed PREMIER as the “Successor Trustee” over the Roen
27
                                              9
28
     COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 10 of 25 PageID #: 10



1     Resulting Trust. From and after that date and to the date hereof PREMIER has
2
      acted as the Successor Trustee over the Roen Resulting Trust with all rights,
3

4     authority and powers as stated in the Roen Resulting Trust and as otherwise

5     applicable under law.
6
            21.   After PREMIER assumed the position of Successor Trustee over the
7

8     Roen Resulting Trust, PREMIER requested financial and tax information from

9     WILMINGTON regarding the assets owned by Roen Resulting Trust and managed
10
      by WILMINGTON. In late March of 2016 WILMINGTON provided PREMIER
11

12    with several Internal Revenue Service, Form K-1s regarding investments and tax

13    information related to year 2015 for the Roen Resulting Trust. WILMINGTON
14
      did not provide any Form K-1s regarding investments and tax information related
15

16
      to year 2014 for the Roen Resulting Trust. Thereafter, PREMIER made inquiries

17    and requests upon management representatives of WILMINGTON seeking further
18
      information related to Form K-1s for year 2014. WILMINGTON responded by
19

20
      indicating that no Form K-1s for year 2014 were immediately available, but they

21    anticipated Form K-1s for year 2014 would be completed and delivered to
22
      PREMIER in September of 2015. In reliance upon the representation made by
23

24
      WILMINGTON that the 2014 Form K-1s would be forthcoming in September of

25    2015, PREMIER and its financial advisors including the Trust accountants made
26
      financial plans for the tax obligations of the Trust based upon the available Form
27
                                             10
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 11 of 25 PageID #: 11



1     K-1s from year 2015 which were provided by WILMINGTON to PREMIER in
2
      March and April of 2016. PREMIER further requested other financial information
3

4     related to WILMINGTON’s administration of the Roen Resulting Trust during the

5     Wilmington Trustee Period and as of the date hereof WILMINGTON has failed to
6
      provide the requested information to PREMIER. PREMIER is informed and
7

8     believes that such information is relevant and material to the claims made in this

9     Complaint and the same may support further legal rights of ROGERS and the
10
      Trust against WILMINGTON and against other parties who are as yet unknown.
11

12          22.   In reliance upon the representations made by WILMINGTON as

13    identified in paragraph 21, hereinabove, PREMIER hired the services of a third
14
      party independent certified public accounting firm in or about May of 2015 to
15

16
      prepare federal and state tax returns for the Roen Resulting Trust and for

17    ROGERS. PREMIER and the third party independent certified public accounting
18
      firm thereafter prepared federal and state tax returns for the Roen Resulting Trust
19

20
      and for ROGERS based upon the information provided by WILMINGTON. Later,

21    in year 2016, in the course of the tax return preparation, PREMIER made further
22
      requests of WILMINGTON to determine if there would be any additional Form K-
23

24
      1s for the Roen Resulting Trust related to any “proprietary funds” of

25    WILMINGTON. After multiple requests by PREMIER for the tax information
26
      referenced above, WILMINGTON finally delivered the Form K-1s for year 2014
27
                                              11
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 12 of 25 PageID #: 12



1     in September of 2016 to PREMIER. The actual Form K-1s for year 2014 which
2
      were produced by WILMINGTON and delivered to PREMIER were significantly
3

4     different than the Form K-1s for year 2015 which had earlier been delivered by

5     WILMINGTON to PREMIER. The deviations which occurred related primarily to
6
      a significantly higher long-term capital gain in one or more of the “proprietary
7

8     funds” of WILMINGTON, which deviations created a tax liability of

9     approximately $1,800,000.00 to the Roen Resulting Trust which tax liability could
10
      have been avoided entirely or could have been mitigated if WILMINGTON had
11

12    provided the Form K-1s for year 2014 to PREMIER and the independent certified

13    public accounting firm for the Roen Resulting Trust as promised in September of
14
      2015.
15

16
              23.   During the Wilmington Trustee Period WILMINGTON managed

17    approximately $62,000,000.00 of Trust corpus and cash/equity related assets. Of
18
      this amount, approximately 60% of the Trust corpus was invested in equity assets
19

20
      which were “proprietary” to WILMINGTON. A majority of the proprietary funds

21    of WILMINGTON were restricted and illiquid and most, if not all funds, did not
22
      have a CUSIP number. Furthermore, Plaintiffs are informed and believe and
23

24
      based thereon allege that the investment agreements for these proprietary funds of

25    WILMINGTON prohibited liquidation or assignment of rights for the benefit of
26
      the Roen Resulting Trust and further penalties would apply if Roen Resulting
27
                                             12
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 13 of 25 PageID #: 13



1     Trust requested a liquidation of any investment in the WILMINGTON proprietary
2
      funds.
3

4                                           COUNT I

5                                       NEGLIGENCE
6
                          (Against Each Defendant by Each Plaintiff)
7

8              24.   Plaintiffs reallege and incorporate by reference herein, paragraphs 1

9     through 23, inclusive, of the preliminary allegations, as though said paragraphs were
10
      set forth herein at length.
11

12             25.   During the Wilmington Trustee Period WILMINGTON and WTIA

13    each had an independent duty to ROGERS as an individual and to the Roen
14
      Resulting Trust to use such skill, prudence, and diligence as other members of their
15

16
      profession commonly possess and exercise.

17             26.   Defendants have breached their duty of care owed to ROGERS and to
18
      the Roen Resulting Trust by reason of the facts and circumstances set forth
19

20
      hereinabove.

21             27.   Plaintiffs have each suffered damages by reason of Defendants’ acts
22
      and omissions in a sum according to proof at trial. Defendants’ breach of the duty
23

24
      of care owed to ROGERS and to the Roen Resulting Trust was both the actual and

25    proximate cause of the damages suffered by Plaintiffs.
26
      ///
27
                                               13
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 14 of 25 PageID #: 14



1                                        COUNT II
2
                     BREACH OF FIDUCIARY DUTY AS TRUSTEE
3

4                     (Against Each Defendant by Plaintiff ROGERS)

5           28.   Plaintiff realleges and incorporates by reference herein paragraphs 1
6
      through 27 as though said paragraphs were set forth herein at length.
7

8           29.   Defendant WILMINGTON agreed to act as an agent and fiduciary of

9     Plaintiff ROGERS by reason of its acceptance to act as Trustee over the Roen
10
      Resulting Trust and its agreement to act as an investment adviser to the Trust.
11

12    Further, Defendant WTIA agreed to act as an agent and fiduciary of Plaintiff

13    ROGERS by reason of its acceptance to act as a registered investment adviser to
14
      WILMINGTON as the Trustee over the Roen Resulting Trust. Both Defendants
15

16
      knew and understood that ROGERS was the “Primary Beneficiary” under the Roen

17    Resulting Trust. Each Defendant stood in a fiduciary relationship with ROGERS.
18
            30.   Defendants WILMINGTON and WTIA each independently breached
19

20
      their fiduciary duties owed to ROGERS by reason of the facts and circumstances

21    described hereinabove.
22
            31.   As a result of Defendants’ breach of duty, Plaintiff has been damaged
23

24
      in an amount no less than the sum of $2,200,000.00.

25          32.   The aforementioned acts of Defendants WILMINGTON and WTIA
26
      were willful, wanton, malicious and oppressive and were undertaken with the intent
27
                                              14
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 15 of 25 PageID #: 15



1     to defraud Plaintiff and cause Plaintiff harm. Accordingly, an award of exemplary
2
      and punitive damages against each Defendant is justified.
3

4                                          COUNT III

5                         CONSTRUCTIVE FRAUD AS TRUSTEE
6
                         (Against Each Defendant by Each Plaintiff)
7

8           33.    Plaintiffs reallege and incorporate by reference herein paragraphs 1

9     through 27 as though said paragraphs were set forth herein at length.
10
            34.    Both Defendants owed a fiduciary duty and were in a fiduciary
11

12    relationship to the Plaintiffs. The Defendants were acting in the capacity of either a

13    Trustee over the Roen Resulting Trust or as an investment adviser to the Roen
14
      Resulting Trust. In addition, each Defendant owed a duty to the Roen Resulting
15

16
      Trust and to ROGERS not to engage in activity which would permit the Defendants

17    to gain an unfair advantage over the Plaintiffs or to mislead the Plaintiffs to their
18
      detriment or prejudice.     The acts and omissions of the Defendants as stated
19

20
      hereinabove involve a breach of the Defendants’ duties, both legal and equitable, to

21    the Plaintiffs and the breach resulted in damage to the Plaintiffs.
22
            35.    The Defendants were in a confidential and fiduciary relationship with
23

24
      the Roen Resulting Trust and with ROGERS during the Wilmington Trustee Period.

25    Each Defendant took advantage of their confidential and fiduciary relationship to
26
      the detriment of the Roen Resulting Trust and ROGERS. Moreover, the Defendants
27
                                                15
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 16 of 25 PageID #: 16



1     failed to disclose material facts within their respective knowledge to the Plaintiffs.
2
      By reason of the confidential and fiduciary relationship between each Defendant and
3

4     each Plaintiff, Plaintiffs were induced to justifiably rely upon the fidelity of the

5     Defendants to act in the best interests of each Plaintiff. The reliance placed upon
6
      each Defendant by each Plaintiff caused injury to each Plaintiff to their detriment.
7

8           36.    As a proximate result of Defendants’ constructive fraud and deceit and

9     the facts herein alleged, Plaintiffs have incurred damages in the sum of not less than
10
      $2,200,000.00.      Furthermore, by reason thereof, Plaintiffs have also suffered
11

12    incidental and consequential damages in a sum according to proof at time of trial.

13          37.    The aforementioned acts of Defendants WILMINGTON and WTIA
14
      were willful, wanton, malicious and oppressive and were undertaken with the intent
15

16
      to defraud Plaintiff and cause Plaintiff harm. Accordingly, an award of exemplary

17    and punitive damages against each Defendant is justified.
18
                                           COUNT IV
19

20
                                 FINANCIAL ELDER ABUSE

21                     (Against Each Defendant by Plaintiff ROGERS)
22
            38.    Plaintiff realleges and incorporates by reference herein paragraphs 1
23

24
      through 27 and paragraph 34 through 37 as though said paragraphs were set forth

25    herein at length.
26
            39.    At all times stated herein, ROGERS was an “elder” within the meaning
27
                                                16
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 17 of 25 PageID #: 17



1     of California Welfare & Institutions Code §15610.27.
2
            40.      At all times during the Wilmington Trustee Period Defendants
3

4     WILMINGTON and WTIA stood in a position of trust and confidence with

5     ROGERS in that they were acting as investment advisers to the Roen Resulting
6
      Trust and in the case of WILMINGTON, acting as the Trustee over the Roen
7

8     Resulting Trust. ROGERS reposed her trust and confidence in WILMINGTON and

9     relied upon their integrity and fidelity to ROGERS.
10
            41.      During the Wilmington Trustee Period, Defendants for their own
11

12    benefit and to the detriment of ROGERS, took, hid, appropriated, obtained, or

13    retained cash proceeds of the Roen Resulting Trust which were properly the
14
      property of the Roen Resulting Trust for the benefit of ROGERS as the Principal
15

16
      Beneficiary.    Furthermore, each Defendant assisted the other Defendant in the

17    aforesaid acts for their own benefit and to the detriment of ROGERS.
18
            42.      Both WILMINGTON and WTIA were each independently in a
19

20
      position of confidence and trust as to ROGERS, and by reason of the same took

21    unfair advantage of ROGERS as the Primary Beneficiary under the Roen Resulting
22
      Trust. The Defendants knew or should have known that the conduct described
23

24
      herein was likely to harm ROGERS. The acts of Defendants as alleged herein

25    caused financial harm to ROGERS within the meaning of California Welfare &
26
      Institutions Code §15610.30(c).
27
                                              17
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 18 of 25 PageID #: 18



1           43.    Defendants’ conduct as described and alleged herein was a substantial
2
      factor and constitutes financial abuse within the meaning of California Welfare &
3

4     Institutions Code §15610.30.

5           44.    The aforementioned acts of Defendants WILMINGTON and WTIA
6
      were willful, wanton, malicious and oppressive and were undertaken with the intent
7

8     to defraud Plaintiff and cause Plaintiff harm. Accordingly, an award of exemplary

9     and punitive damages against each Defendant is justified in the commission of the
10
      financial abuse of ROGERS described and alleged herein.
11

12          45.    ROGERS is entitled to her reasonable attorneys’ fees and costs from

13    Cross-Defendants in accordance with California Welfare & Institutions Code
14
      §15657(a).
15

16
            46.    Plaintiff ROGERS by legal counsel issued a written demand letter on

17    WILMINGTON and WTIA under California Welfare & Institutions Code §15657.6.
18
      Notwithstanding request made by Plaintiff to Defendants by the demand letter,
19

20
      Defendants have refused to return ROGERS’s property in further violation of

21    California Welfare & Institutions Code §15657.6.
22
      ///
23

24
      ///

25    ///
26

27
                                             18
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 19 of 25 PageID #: 19



1                                          COUNT V
2
         (VIOLATION OF THE U.S. INVESTMENT ADVISERS ACT OF 1940)
3

4       (Against Defendants WILMINGTON and WTIA by Plaintiff PREMIER)

5           47.    Plaintiff realleges and incorporates herein by reference paragraphs 1
6
      through 27, inclusive, as though said paragraphs were set forth herein at length.
7

8           48.    PREMIER as the Successor Trustee of the Roen Resulting Trust brings

9     this claim on behalf of the Trust against the Defendants.
10
            49.    This claim is brought under the U.S. Investment Advisers Act of 1940,
11

12    as amended and as codified at 15 U.S.C. §§80b-1 through 80b-21 (hereinafter

13    sometimes the “Advisers Act”).
14
            50.    Defendants are each investment advisers pursuant to Section
15

16
      202(a)(11) of the Advisers Act.       They each received compensation and are

17    engaged in the business of providing advice to others, issuing reports or analyses
18
      regarding securities as stated hereinabove regarding the Roen Resulting Trust.
19

20
      Each Defendant did so in connection with WILMINGTON and its management of

21    the Roen Resulting Trust.         The Roen Resulting Trust compensated each
22
      Defendant for services rendered to the Trust in connection with the management
23

24
      and supervision of the Roen Resulting Trust corpus and cash/equities owned by

25    the Trust. The Defendants engaged in such activity and received compensation
26
      during the Wilmington Trustee Period.
27
                                               19
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 20 of 25 PageID #: 20



1           51.   Each Defendant is subject to the Advisers Act anti-fraud provisions.
2
      Accordingly, each Defendant owed to the Roen Resulting Trust a broad fiduciary
3

4     duty to act in the best interest of the Trust. The fiduciary position of each

5     Defendant as an investment adviser to the Roen Resulting Trust required the
6
      Defendants to avoid any conflicts of interest with the Trust and from overreaching
7

8     or taking unfair advantage of the Roen Resulting Trust (and its primary

9     beneficiary, Plaintiff ROGERS herein).
10
            52.   Pursuant to the Advisers Act, the Defendants each had an affirmative
11

12    obligation to act with utmost good faith towards the Roen Resulting Trust and to

13    make full and fair disclosure of all facts material to the Trust’s engagement of
14
      each Defendant as an investment adviser. Moreover, this duty includes a duty of
15

16
      each Defendant to avoid any act or omission which would mislead the Roen

17    Resulting Trust (and its primary beneficiary – Plaintiff ROGERS). Furthermore,
18
      the duty of each Defendant was to refrain from any fraudulent conduct which
19

20
      included an obligation to disclose material facts to the Trust whenever a failure to

21    do so would defraud or operate as a fraud or deceit upon the Trust. Disclosure
22
      includes any actual or potential conflict of interest between the Defendants and
23

24
      their client – the Roen Resulting Trust. (U.S. Securities & Exchange Commission

25    rules and regulations confirm that the Defendants had an affirmative obligation to
26
      disclose all material facts regarding any actual or potential conflict between them
27
                                               20
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 21 of 25 PageID #: 21



1     and the Trust so that the Trust could make an informed decision whether to enter
2
      into or continue an advisory relationship with the Defendants, or either of them, or
3

4     take some action to protect the Trust from the actual or potential conflict of

5     interest.) In addition to the above, the Defendants owed the Trust a duty to
6
      provide “suitable investment advice.” This duty required the Defendants to make
7

8     a reasonable inquiry of the Trust’s financial situation (including the primary

9     beneficiary – Plaintiff ROGERS), the investment experience and investment
10
      objectives of the Trust (taking into account the needs of the primary beneficiary –
11

12    Plaintiff ROGERS) and to make a reasonable determination that the investment

13    advice given to the Trust was suitable in light of the situation, experience and
14
      objectives of the Trust (and its primary beneficiary – Plaintiff ROGERS).
15

16
            53.    The Advisers Act also prohibited the Defendants, and each of them,

17    from acting as a principal for their own account or from knowingly selling any
18
      security to the Roen Resulting Trust without disclosing to the Trust in writing its
19

20
      position and capacity, whether for itself or an affiliate, and thereafter to obtain the

21    Trust’s consent before completion of any sale transaction by the Defendants to the
22
      Roen Resulting Trust. Moreover, such consent must be obtained separately for
23

24
      each transaction and a blanket consent is insufficient. During the Wilmington

25    Trustee Period Defendant WILMINGTON and Defendant WTIA either jointly or
26
      independently failed to disclose conflicts of interest to the Trust between the Roen
27
                                                21
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 22 of 25 PageID #: 22



1     Resulting Trust and the Defendants related to investments made in proprietary
2
      investments of WILMINGTON or its affiliates. Additionally, these Defendants
3

4     did not obtain any written consent from the Roen Resulting Trust to any actual or

5     potential conflict of interest between WILMINGTON and the Trust or WTIA and
6
      the Trust.
7

8           54.    Defendants also violated Section 206 of the Advisers Act by

9     investing corpus and cash assets of the Roen Resulting Trust into “proprietary”
10
      investments managed and operated by WILMINGTON, WTIA or affiliates of the
11

12    Defendants since these proprietary investments restricted the ability of the Trust to

13    liquidate its positions in these proprietary investments. These restrictions and
14
      penalties on liquidation which, in fact, did occur when the Roen Resulting Trust
15

16
      changed management of the Trust from WILMINGTON to PREMIER violate

17    Section 206 of the Advisers Act by penalizing the Trust for ending the advisory
18
      relationship between WILMINGTON and the Trust or WTIA and the Trust. (See
19

20
      National Deferred Compensation, SEC Staff No-Action Letter (August 31, 1987)

21    – “An advisor may not fulfill its fiduciary obligations if it imposes a fee structure
22
      penalizing a client for deciding to terminate the advisor’s service or if it imposes
23

24
      an additional fee on a client for choosing to change his investment.”)

25          55.    PREMIER had no way of discovering the aforesaid wrongs until
26
      September of 2016 when PREMIER obtained the 2014 K-1s for investments made
27
                                               22
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 23 of 25 PageID #: 23



1     by WILMINGTON and WTIA in connection with the Roen Resulting Trust.
2
             56.       By reason of the various breaches of fiduciary duty by both
3

4     Defendants as investment advisers to the Roen Resulting Trust, the Trust has been

5     damaged in a sum in excess of $2,200,000.00 and in a total amount to be proven at
6
      time of trial.
7

8            57.       Plaintiffs seek a Court adjudication and judgment requiring rescission

9     or restitution of all investments made by the Defendants on behalf of the Plaintiff .
10
             WHEREFORE, Plaintiffs prays for judgment against Defendants, and each
11

12    of them, as follows:

13           As to the First Count for Negligence:
14
             1.        For general damages in a sum according to proof, but in no event less
15

16
                       than $2,200,000.00;

17           2.        For consequential and incidental damages in an amount according to
18
                       proof;
19

20
             3.        For costs of suit herein incurred; and,

21           4.        For such other and further relief as the Court deems proper.
22
             As to the Second Count for Breach of Fiduciary Duty as Trustee:
23

24
             1.        For general damages in a sum according to proof, but in no event less

25                     than $2,200,000.00;
26
             2.        For exemplary and punitive damages in a sum according to proof at the
27
                                                    23
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 24 of 25 PageID #: 24



1                   time of trial;
2
              3.    For costs of suit herein incurred; and,
3

4             4.    For such other and further relief as the Court deems proper.

5             As to the Third Count for Constructive Fraud as Trustee:
6
              1.    For general damages in a sum according to proof, but in no event less
7

8                   than $2,200,000.00;

9             2.    For exemplary and punitive damages in a sum according to proof at the
10
                    time of trial;
11

12            3.    For costs of suit herein incurred; and,

13            4.    For such other and further relief as the Court deems proper.
14
              As to the Fourth Count for Financial Elder Abuse:
15

16
              1.    For general damages in a sum according to proof, but in no event less

17                  than $2,200,000.00;
18
              2.    For attorneys’ fees and costs of suit herein incurred pursuant to
19

20
      California Welfare & Institutions Code §15657.6; and,

21            3.    For such other and further relief as the Court deems proper.
22
              As to the Fifth Count for Violation of U.S. Investment Advisers Act of
23

24
      1940:

25            1.    For an adjudication and order requiring Defendants, and each of them,
26
                    to rescind the subject investments and to restore by restitution to the
27
                                                 24
28
      COMPLAINT
     Case 1:18-cv-00116-CFC-SRF Document 1 Filed 03/16/17 Page 25 of 25 PageID #: 25



1                 Plaintiff the monetary investment made in the subject investments;
2
            2.    For such other and further relief as the Court deems proper.
3

4
      DATED: March 16, 2017                Respectfully submitted,
5

6                                          CATANESE & WELLS
                                           A Law Corporation
7

8
                                     By:   /s/ T. Randolph Catanese, Esq.
9                                          T. Randolph Catanese
10                                         Attorneys for Plaintiff
                                           FRIEDA MAE ROGERS
11

12

13

14
                              DEMAND FOR JURY TRIAL
15

16
            Plaintiff FRIEDA MAE ROGERS hereby demands trial by jury.

17

18
            DATED: March 16, 2017                 Respectfully submitted,

19                                                CATANESE & WELLS
20
                                                  A Law Corporation

21

22
                                           By:    /s/ T. Randolph Catanese, Esq.
                                                  T. Randolph Catanese
23                                                Attorneys for Plaintiff
24
                                                  FRIEDA MAE ROGERS

25

26

27
                                             25
28
      COMPLAINT
